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              UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            )
                                    )
     v.                             )         No. 21-cr-00176 (CJN)
                                    )
STEVE OMAR MALDONADO                )
____________________________________)

   NOTICE OF WITHDRAWAL OF APPEARANCE

     The United States of America, by and through its attorney, the

United States Attorney for the District of Columbia, hereby informs the

Court that Assistant United States Attorney Elizabeth H. Danello is

withdrawing her appearance in the above-captioned matter.

                                  Respectfully submitted,

                                  M ATTHEW M. G RAVES
                                  United States Attorney

                                                     /s/
                                  E LIZABETH H. D ANELLO
                                  D.C. Bar #407606
                                  Assistant United States Attorney
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                                  (202) 252-6829
       Case 1:21-cr-00176-CJN Document 56 Filed 03/27/23 Page 2 of 2




                     C ERTIFICATE OF S ERVICE

     I HEREBY CERTIFY that on this 27th day of March, 2023, I

have caused a copy of the foregoing withdrawal of appearance to be

served by electronic means, through the Court’s CM/ECF system, upon

counsel of record.

                                                     /s/
                                  E LIZABETH H. D ANELLO
                                  Assistant United States Attorney




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